EXHIBIT A

Case 3:11-cv-01208 Document 1-1 Filed 12/20/11 Page 1 of 11 PagelD #: 6
 

 

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CIRCUIT COURT SUMMONS NASHVILLE, TENNESSEE

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i L E . STATE OF TENNESSEE First
i Cats Gee DAVIDSON COUNTY ["] Alles
QNIHOV 16 AN IO: 20 JUBICIAL DISTRICT [[] Puries

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NINA SPEARS ot SN | ( CYS.

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+ Plaintiff Nethed of Sarvice:
CT] Davidson County Sherltf

 

 

 

 

 

 

Vs "| Out of County Sheritt
SP/|.AMERICA, LLC and [7] Secretary of State
fAGUSISELLO’ PS corte Mai
["] Personal Servica
Cl Commissioner of Insurance
Defendant | DS 2
To the above named Dafendant: . uw / OQ,

You ara summoned te appear and defend a civil action filed against you In the Clreult Caurt, 41 Public Square, Room 302,
P.O. Box 186303, Nashville, TN 37218-6303, and your defsnse must be made within thirty (30) days from the date this
summons Is served upon you. You are further directed to file your defense with the Glark of the Caurt and send a capy to
tha Plaintiff's attorney at the address listed below.

In case of your fallure to defend this action by the above date, Judgment by default will be rendered against you for the
rallef demanded In the complelnt, ,

—\lo- \\ , RICHARD R. ROOKER

revit Coan Cleri
Davidson Gounty, Tennessee

By: C ok m™
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ISSUED:

 

 

 

 

 

 

 

api
ATTORNEY FOR PLAINTIFF |H, Thomas Parsons
or 101 W. Main Street
fess :
PLAINTIFF'S ADDRESS | Manchester, TN 37355 Talaphone: 931-728-1316
TO THE SHERIFF:

Please execute thls summons and make your retum hereon as provided by law.

RICHARD R. ROOKER
————Sraut Court Clank

Recelved this summons for service this day of : 20

 

SHERIFF
To raquast an ADA accommodation, pleass contact 880-3309,

 

 

 

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RETURN ON PERSONAL SERVICE OF SUMMONS

thereby certify and return that an the day of , 20 vi

‘i
A [ served this summons and complaint/petition on

 

In the follawing manner:

 

 

 

: | | falled to serve this summons within 90 days after Its issuance because

 

 

Sheriff/Process Server
RETURN ON SERVICE OF SUMMONS BY MAIL

| heraby cariify and return, that on the day of , , 20 ! sent, postage prepald by

 

registered retum recelpt mail or certified return receipt mall, a certified capy of the summons and a copy of the complaint In Dockat No,

to the defendant, . Onthe day af

 

, |} receivad the retum recelpl for sald registered or cartlfied mall, which had baen signed
by 7h the day of , 20 .  Saldretum
‘ racalpt Is attached to this original summons and both documents are belng sent herewith to the Clrcult Court Clark for filing,

 

SWORN TO AND SUBSCRIBED BEFORE ME ON THIS:

DAY OF 20 . PLAINTIFF, PLAINTIFF'S ATTORNEY OR OTHER PERSON
AUTHORIZED BY STATUTE TO SERVE PROCESS

 

 

NOTARY PUBLIC or DEPUTY CLERK
MY COMMISSION EXPIRES:

 

 

NOTICE
TO THE DEFENDANT(S):
: Tennessee law provides a ten thousand dollar ($10,000.00) dabtor’s equily Interest
' pereanal proparty exemption from execution or selzure lo sallsty a judgment. Ifa Judgment ATTACH
should ba entered against you In this actlon and you wish to clalm property as exempt, you
must fle a written ist, undor aalh, of fhe itams you wish to clalm as examp! with the clerk of RETURN
» the court. Tha jist may bp filed at any time and may be-changad by yo thereafter as heressary;
Howaver, unless 1a fled before the Judgment bacomes final, ft will nof be 6ffeciilve as to any RECEIPT
execution or garmishment [esued prior to the filing of the list. Certain llgms are automatically
exempt! by law and do not need ta be listed; these Inciude Ilems of negassary wearing apparel HERE
‘{elothing) for yourself and your familly and trunks or other receptacles necessary to canlain such
apperel, family portralis, the famlly Bible, and school books. Should any of these flams be selzed, (IF APPLICABLE)

you would have the right to sacover them. if you do not understand your axampilon right or how
{o exercise il, you may wish te seak the counsel of a lawyer,

STATE OF TENNESSEE 1, Richard R, Reoker, Clerk of the Circuit Court in the State and County aforasald,
COUNTY OF DAVIDSON do hereby certify this to be a true and correct copy of the original summons Issued
in this case,
RICHARD R. ROOKER, CLERK
(To be completed anly if
copy ceriification required.) . yO

By: ve \ D.C,

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NINA SPEARS pay diset ed ihe Gee ret ae CIVIL ACTION
(CC Woke pocketNo, (LCE SG.
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Plaintiff Method of Service:
[_] Davidson County Sheriff
Vs. a .
‘ Out of County Sheriff
“SPi AMERICA, LLC.and [_] Secretary of State
. ACUSIS, LLC Certified Mall
wo EI ‘Personal Service
[| Commissioner of Insurance
Defendant | p \

 

CIRCUIT COURT SUMMONS NASHVILLE, TENNESSEE

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To the above named Defendant: ; / Cc

You are summoned to appear and defend a civil action filed against you in the Circuit Court, 4 Public Square, Room 302,
P.O. Box 196303, Nashville, TN 37219-6303, and your defense must be made within thirty (30) days from the date this
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the Plaintiff's attorney at the address listed below.

in case of your failure to defend this action by the above date, judgment by default will be rendered against you for the
relief demanded in the complaint.
, RICHARD R. ROOKER

ISSUED: \\ _ \\No7 \\ “Cie Coun Clark
7 Davidson County, Tennessee

By: ee
Deputy Clerk 3

 

 

pm

“ATTORNEY FOR PLAINTIFF | H, Thomas Parsons

 

 

 

or 101 W. Main Street
Address
PLAINTIFF'S ADDRESS Manchester, TN 37355 Telephone: 931-728-1316

 

TO THE SHERIFF:
Please execute this summons and make your return hereon as provided by law.

RICHARD R. ROOKER
——Gireut Court Clerk

Received this summons for service this day of , 20 :

 

SHERIFF

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Sfeee

 

(es To request an ADA accommodation, please contact 880-3309.

 

 

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IN THE CIRCUIT COURT FOR DAVIDSON COUNTY, range Le ip :
AT NASHVILLE =a bs RED wane

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NINA SPEARS, L PAARD H.R CORER. CLE IR

Plaintiff, }

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SPi AMERICA, LLC and ACUSIS, LLC, }
}
)
Defendant. }
- )

COMPLAINT

 

Comes now the plaintiff, Nina Spears (hereinafter “Ms. Spears”), and brings this
cause of action against the defendant, SPi AMERICA, LLC (hereinafter “Spi”) and

ACUSIS, LLC, (hereinafter “Acusis’), and shows as follows:

PARTIES
l. Ms, Spears is a citizen and resident of Davidson County; Tennessee.
2. SPi is an active, for-profit, corporation formed in Delaware, operating

under the laws of Tennessee, and having a principal address of 2960 Professional
Drive, Springfield, IL 62703. Spi’s Registered Agent for service of process in Tennessee
is National Registered Agents, Inc., 2300 Hillsboro Road, Suite 305, Nashville,
Terinessee. Spi operated at all pertinent times as a medical transcription business
with principal offices at 2960 Professional Drive, Springfield, Mlinois 62703-5910.
Acusis purchased SPi on or about September 30, 2011 and may have owned and/or
operated SPi America LLC’s medicaj transcription business at the times pertinent to
the events leading to the filing of this suit. Acusis is a foreign LLC but operating
under the laws of Tennessee and having a principal address at 200 1* Ave. 34 Floor,

Pittsburgh, Pennsylvania 15222-1512. Acusis has no tegistered agent for

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the service of process listed in the Pennsylvania Department of State web site;
however, service of process should be obtainable by service on its Registered Office

Address listed in the Pennsylvania Department of State website set out above.

JURISDICTION AND VENUE
3. The acts complained of herein occurred in Davidson County, Tennessee,
in that the Plaintiff worked from her home in Davidson County, Tennessee. Therefore,
this Honorable Court has jurisdiction over this matter pursuant to TCA § 16-10-101,

and venue is proper in Davidson County, Tennessee pursuant to TCA § 20-4-101.

STATEMENT OF FACTS

4. Plaintiff Nina Spears was employed by the Defendant, SPi, in 2004 asa
medical transcriptionist working from her home in Davidson County, Tennessee.

5. She was discharged on or about September 23, 2011, pretextually for
lack of production, particularly during the month of August, 2011.

6. The Plaintiff contracted carpal tunnel syndrome, a work connected
repetitive use disease, in the course and scope of her employment with the defendant
SPi.

7. The Plaintiff made a workers compensation claim against her employer,
SPi, prior to July 26, 2011, the date on which she underwent surgery on her left hand
and wrist as a result of her carpal tunnel syndrome work connected injury. The
surgery was authorized and paid for by SPi. The Plaintiff was not released to return to
work following the surgery for approximately five weeks and was unable to work
during the month of August, 2011. Prior to that month she was one of the highest

producers for SPi in medical transcription,

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8, The firing of the Plaintiff clearly is a retaliatory action taken against the
Plaintiff as a result of her workers compensation claim and use of her benefits
provided to her under the Workers Compensation laws of the State of Tennessee.

9. The Defendants’ Human Resources Manager was notified by the
supervisor of the Plaintiff that Ms, Spears lack of production for the month of August
resulted from her surgery and inability to work during the month of August, 2011, the
recovery time from her surgery of July 26, 2011, Nevertheless, the Defendant

persisted in terminating Ms. Spears.

CAUSE OF ACTION

10. Plaintiff restates and incorporates the allegations contained in the
previous paragraphs.

11. By making a claim for worker’s compensation benefits, the Plaintiff was
exercising & statutory right under Tennessee law.

12. The stated reason by the Plaintiff's employer for terminating the Plaintiff
was pretextual.

13. The Plaintiff was terminated from her employment for making a claim for
workers’ compensation benefits.

14, The claim for worker’s compensation benefits, an exercise of a statutory
night, was a substantial factor in Defendants’ decision to discharge Ms. Spears.

15. Defendants’ termination of Ms. Spears for exercising a protected right is
a clear violation of public policy and amounts to retaliatory discharge under Tennessee
common law.

16, Asa direct and proximate cause of Defendants’ conduct, Ms. Spears has

suffered losses, including but not limited to, lost wages and benefits, emotional

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damage, shame, humiliation and embarrassment, and lost earning capacity. She is
entitled to both back pay and front pay.

17, Upon information and belief, the actions of Defendants are in violation of
the law and were performed intentionally, with malice and/or in reckless disregard
and indifference to Ms. Spears’ protected rights, and, furthermore, Defendants knew
or should have known that its conduct was prohibited by law. Ms. Spears is therefore
entitled to and seeks punitive damages.

WHEREFORE, PLAINTIFF NINA SPEARS RESPECTFULLY REQUESTS:

1. That Defendants be served with process requiring them to answer this
Complaint.

2. Compensatory damages, consequential and incidental damages,
including but not limited to emotional damages, humiliation and embarrassment, lost
wages, lost benefits and damages for past and future lost pay, and lost benefits that
Plaintiff would have accrued if her employment had not been terminated in the
amount of $600,000.00, or such other amount as may be determined by a jury.

3. Punitive damages of $200,000.00 or such other amount ag may be
determined.

4, That costs and attorneys’ fees be paid by the Defendant.

5, Such further and general relief as this Honorable Court may deem just

and proper.

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Respectfully submitted,

PARSONS & NICHOLS

By:
H. Thomas Parsons, BPR# 2571
Parsons & Nichals

Attorney for Plaintiff

101 W. Main St.

Manchester, TN 37355
931-728-1316

We are surety for costs up to $500.00

H. Thomas Parsons

 

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IN THE CIRCUIT COURT FOR DAVIDSON COUNTY TENNESSEE

NINA SPEAKS,
Plaintiff,

V.

SPi AMERICA, LLC and ACUSIS, LLC,

Defendants

AT NASHVILLE

CASE NO. 1104582

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NOTICE OF FILING OF NOTICE OF REMOVAL

a.
Pursuant to 28 U.S.C. § 1446(d), please take notice that on December ZO 5 2011,

Defendants ACUSIS,LLC and SPi AMERCIA, LLC filed their Notice of Removal in the United

States District Court for the Middle District of Tennessee. The state court shall proceed no

further.

Respectfully submitted,

KING & BALLOW

De LAR

Dough R. Pierce, Esq.: No. 10084
C. ter Kitchens, Esq.: No. 30493
315 Union Street, Suite. 1100
Nashville, Tennessee 37201

Phone: (615) 259-3456

Fax: (615) 726-5419
dpierce@kingballow.com
hkitchens@kingballow.com

Attorneys for Defendant Acusis, LLC

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CERTIFICATE OF SERVICE
I hereby certify that on the 0 tay of December 2011, this Notice of Filing of Notice of

Removal was mailed via First Class Mail to participants:

H. Thomas Parsons John J. Michels, Jr. Esq.: No. 11608
Parsons & Nichols Lewis Brisbois Bisgaard & Smith, LLP
101 W. Main Street 550 W. Adams Suite 300
Manchester, TN 37355 Chicago, IL 60661
(931) 728-1316 Phone: (312) 345-1718

Fax: (312) 345-1778
Attorney for Plaintiff jmichels@Ibbslaw.com

Attorney for Defendant SPi

 

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